Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 1 of 17




                  EXHIBIT A
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 2 of 17




                                      , The Keeper of the Records




By mail or email: White & Case, LLP
75 State Street, Boston, MA 02109
lauren.papenhausen@whitecase.com
or in person: Moakley Courthouse
1 Courthouse Way. Boston, MA 02210
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 3 of 17
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 4 of 17
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 5 of 17
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 6 of 17
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 7 of 17
      Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 8 of 17




       CERTIFICATE REGARDING THE LACK OF RESPONSIVE DOCUMENTS



I, _______________________, certify as follows:

       1.     I work at the University of Southern California (“USC”). My current position is

_______________________.

       2.     I have received a subpoena to USC dated July 26, 2021, and by attorneys

representing John Wilson in United States v. Colburn et al. (Case no. 1:19-cr-10080-NMG).

       3.     Upon search and review of USC’s records, I found no documents responsive to

Request No(s). __________ of Attachment A of the said subpoena.



Signed under the penalty of perjury this ______ day of __________, 2021.



                                                                  _________________
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 9 of 17
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 10 of 17




                   EXHIBIT B
 Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 11 of 17
                                                                       1




 1                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
 2

 3
     UNITED STATES OF AMERICA,              )
 4                      Plaintiff           )
                                            )
 5   vs.                                    ) No. 1-19-CR-10080
                                            )
 6   GAMAL ABDELAZIZ, MARCI                 )
     PALATELLA, and JOHN WILSON,            )
 7                      Defendants.         )
                                            )
 8                                          )

 9

10
                 BEFORE THE HONORABLE NATHANIEL M. GORTON
11                      UNITED STATES DISTRICT JUDGE
                            PRETRIAL CONFERENCE
12

13

14

15              John Joseph Moakley United States Courthouse
                              Courtroom No. 4
16                           One Courthouse Way
                        Boston, Massachusetts 02210
17

18                              August 18, 2021
                                  11:00 a.m.
19

20

21                      Kristin M. Kelley, RPR, CRR
                           Official Court Reporter
22              John Joseph Moakley United States Courthouse
                       One Courthouse Way, Room 3209
23                       Boston, Massachusetts 02210
                          E-mail: kmob929@gmail.com
24
                Mechanical Steno - Computer-Aided Transcript
25
         Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 12 of 17
                                                                                   6




         1   don't wear a mask when addressing the Court, but it's

         2   completely within your choice.

         3             We're going to start now with this final pretrial

         4   conference with respect to the September trial in the so-called

         5   "Varsity Blues" case.     Before we begin, I'm going to state my

         6   general attitude with this case, after which I will render my

         7   rulings on the pending motions in limine, hear the parties in

         8   response, and then discuss the empanelment process and the

         9   trial procedures.

11:05   10             As a preliminary matter, counsel should understand

        11   that this trial is not going to be about the general admissions

        12   policy of the University of California or the method it uses to

        13   admit students.    USC is not on trial here, and I will not have

        14   this case devolve into multiple side trials.         Unless there's

        15   evidence that a defendant was misinformed with respect to the

        16   admission policy of the subject university and/or knew that USC

        17   admitted a specific unqualified student whose parent made a

        18   large donation to the school before that defendant entered into

        19   the alleged conspiracy with Singer, evidence of what other

11:06   20   unrelated students and parents did has no bearing on the

        21   defendants' state of mind and, thus, is irrelevant to the

        22   requisite scienter that the government must prove in this case.

        23             Second, this case is almost two and a half years old,

        24   and we are now on the eve of trial.       Just yesterday, two of the

        25   three defendants moved to continue the trial for COVID-19
 Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 13 of 17
                                                                       65




 1                        C E R T I F I C A T E

 2

 3

 4   UNITED STATES DISTRICT COURT )

 5   DISTRICT OF MASSACHUSETTS        )

 6

 7

 8              I, Kristin M. Kelley, certify that the foregoing is a

 9   correct transcript from the record of proceedings taken

10   August 18, 2021 in the above-entitled matter to the best of my

11   skill and ability.

12

13

14        /s/ Kristin M. Kelley                      August 18, 2021

15        Kristin M. Kelley, RPR, CRR                    Date
          Official Court Reporter
16

17

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25
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 14 of 17




         EXHIBIT C
     FILED UNDER SEAL
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 15 of 17




         EXHIBIT D
     FILED UNDER SEAL
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 16 of 17




         EXHIBIT E
     FILED UNDER SEAL
Case 1:19-cr-10080-NMG Document 2177-1 Filed 09/09/21 Page 17 of 17




         EXHIBIT F
     FILED UNDER SEAL
